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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS

COMMODITY FUTURES TRADING
COMMISSION,

               Plaintiff,                             Case No. 1:19-cv-05416
                                                      Hon. Andrea R. Wood
               v.

YUKOM COMMUNICATIONS LTD.,
LINKOPIA MAURITIUS LTD.,
WIRESTECH LIMITED d/b/a BIGOPTION,
WSB INVESTMENT LIMITED d/b/a
BINARYBOOK, ZOLAREX LTD. d/b/a
BINARYONLINE, YAKOV COHEN,
YOSSI HERZOG, LEE ELBAZ, and
SHALOM PERETZ,

               Defendants.


                                     NOTICE OF MOTION

       Please take notice that on July 14, 2020 at 9:00 a.m. or soon thereafter we shall appear

via remote means as directed by the Court before the Honorable Andrea R. Wood, or such

other Judge as may be sitting in her stead, in Courtroom 1925 of the U.S. District Court,

Northern District of Illinois, 219 South Dearborn Street, Chicago, Illinois and present Plaintiff’s

Motion for Entry of Default



Dated: July 7, 2020                                   Respectfully submitted,

                                                      /s/ Elizabeth N. Pendleton

                                                      Elizabeth N. Pendleton
                                                      Elizabeth M. Streit
                                                      Attorneys for Plaintiff
                                                      Commodity Futures Trading Commission
